                     UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION

SAMANTHA JO FRANCIS,                                  C/A NO. 3:19-cv-00120

                 Plaintiff,

v.                                                  NOTICE OF REMOVAL

MARRIOTT INTERNATIONAL, INC. d/b/a
THE WESTIN CHARLOTTE, STARWOOD-
CHARLOTTE MANAGEMENT, LLC,
MARRIOTT HOTEL SERVICES, INC., and
WESTIN CHARLOTTE PAYROLL
COMPANY,

                 Defendants.


                                       Exhibit B
                        Notice of Filing of Notice of Removal




                                  -2-
     Case 3:19-cv-00120-MOC-DSC Document 1-2 Filed 03/08/19 Page 1 of 4
Case 3:19-cv-00120-MOC-DSC Document 1-2 Filed 03/08/19 Page 2 of 4
Case 3:19-cv-00120-MOC-DSC Document 1-2 Filed 03/08/19 Page 3 of 4
Case 3:19-cv-00120-MOC-DSC Document 1-2 Filed 03/08/19 Page 4 of 4
